                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION
                                       3:11-cv-481-RJC
                                       (3:05-cr-46-RJC)

JOSEPH MIKE,                         )
                                     )
      Petitioner,                    )
                                     )
       vs.                           )                        ORDER
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      Respondent.                    )
_____________________________________)


       THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside, or

Correct Sentence, under 28 U.S.C. § 2255, (Doc. No. 1), the Government’s Response, (Doc. No.

13), Petitioner’s Reply, (Doc. No. 15), and proposed amendments to the Motion to Vacate, (Doc.

Nos. 5, 9, 16). For the reasons stated below, the Court will deny and dismiss the motion and

proposed amendments.

I.     BACKGROUND

       On November 4, 2005, Petitioner pled guilty pursuant to a written plea agreement to

conspiracy to possess with intent to distribute at least five kilograms of cocaine, in violation of

21 U.S.C. §§ 846, 841(b)(1)(A), and 851. (Case No. 3:05-cr-46, Doc. No. 25: Plea Agreement;

Doc. No. 26: Acceptance and Entry of Guilty Plea; Doc. No. 96: Plea Hr’g Tr. at 18). The Court

scheduled a sentencing hearing for March 27, 2006, but the defendant failed to appear. (Id., Doc.

No. 43: Arrest Warrant). Over the objection of defense counsel, the Court sentenced Petitioner

in absentia on October 1, 2010, after finding that his non-appearance was voluntary. (Id., Doc.

No. 82: Motion; Doc. No. 95: Sent. Hr’g Tr. at 2-3, 10-11, 13-16). Based on Petitioner’s guilty




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plea and the § 851 notice filed by the Government, the Court sentenced Petitioner to the

mandatory sentence of life imprisonment and entered Judgment on October 21, 2010.1 (Id., Doc.

No. 88: Judgment at 1-2). Petitioner did not file an appeal, but was later apprehended and began

serving his sentence in or about August 2011. (Doc. No. 2: Motion at 1).

        Petitioner timely filed the instant § 2255 motion through new counsel on September 26,

2011, raising one ground for relief: that former counsel was ineffective for failing to file a notice

of appeal to preserve his right to be present at the sentencing hearing. (Case No. 3:05-cr-46, Doc.

No. 97: Motion at 5; Memorandum at 6-9). Petitioner subsequently filed untimely proposed

amendments through counsel and pro se claiming: (1) that former counsel was ineffective for

pressuring Petitioner to plead guilty when he could have prevailed at trial, (Doc. No. 2: Motion);

(2) that the Government’s filing of the § 851 notice was arbitrary and capricious, (Doc. No. 9:

Amended Motion); and (3) that Petitioner was misinformed about the impact of the § 851 notice

on his sentence, (Doc. No. 16: Motion to Amend).

II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings . . . ” in order to determine whether a petitioner is entitled to any

relief. If the motion is not dismissed after that initial review, a court must direct the Government

to respond. Id. A court must then review the Government’s answer and any materials submitted

by the parties and determine whether an evidentiary hearing is warranted pursuant to Rule 8(a).



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         The Government had filed a Motion for Downward Departure, (Case No. 3:05-cr-46,
Doc. No. 41), but withdrew it when Petitioner failed to appear for sentencing, (Id., Doc. No. 86:
Motion).
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A district court may dismiss a petitioner’s claim without an evidentiary hearing when the

pleadings and additional materials submitted by the parties conclusively show that a petitioner is

not entitled to relief on any of his claims. Raines v. United States, 423 F.2d 526, 529 (4th Cir.

1970).

III.     DISCUSSION
         A.     Failure to File an Appeal

         To establish a claim of ineffective assistance of counsel, a petitioner must show that

counsel’s performance fell below an objective standard of reasonableness, and that he was

prejudiced by such constitutionally deficient representation. Strickland v. Washington, 466 U.S.

668, 687-92 (1984). In measuring counsel’s performance, there is “a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance.” Id. at 689.

         To demonstrate prejudice, Petitioner must show a probability that the alleged errors

worked to his “actual and substantial disadvantage, infecting his entire trial with error of

constitutional dimensions.” Murray v. Carrier, 477 U.S. 478, 494 (1986) (emphasis in original)

(quoting United States v. Frady, 456 U.S. 152, 170 (1982)). Under these circumstances,

Petitioner “bears the burden of proving Strickland prejudice.” Fields v. Attorney Gen. of Md.,

956 F.2d 1290, 1297 (4th Cir. 1992) (citing Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th

Cir. 1983)). If Petitioner fails to meet this burden, “a reviewing court need not consider the

performance prong.” Fields, 956 F.2d at 1297 (citing Strickland, 466 U.S. at 697).

         In considering the prejudice prong of the analysis, the Court must not grant relief solely

because Petitioner can show that, but for counsel’s performance, the outcome of the proceeding

would have been different. Sexton v. French, 163 F.3d 874, 882 (4th Cir. 1998). Rather, the

Court “can only grant relief under . . . Strickland if the ‘result of the proceeding was

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fundamentally unfair or unreliable.’” Id. (quoting Lockhart v. Fretwell, 506 U.S. 364, 369

(1993)).

        Petitioner claims former counsel was deficient for failing to file a notice of appeal in

Petitioner’s absence. (Doc. No. 1: Memorandum at 8-9). However, Petitioner’s reliance on Roe

v. Flores-Ortega, 528 U.S. 470 (2000), for that proposition is misplaced. In that case, the

Supreme Court recognized that “the decision to appeal rests with the defendant.” Id., 463 U.S. at

479. Where a defendant has not instructed counsel to appeal, the first question is whether

counsel deficiently failed to consult with the defendant about an appeal. Id. at 478. Therefore,

the Court held

        that counsel has a constitutionally imposed duty to consult with the defendant
        about an appeal when there is reason to think either (1) that a rational defendant
        would want to appeal (for example, because there are nonfrivolous grounds for
        appeal), or (2) that this particular defendant reasonably demonstrated to counsel
        that he was interested in appealing. In making this determination, courts must take
        into account all the information counsel knew or should have known.

Id. at 480.

        Here, the record clearly shows that Petitioner’s voluntary absence prevented

counsel from discharging his duty to consult about an appeal. Additionally, a defendant

who has fled and remains a fugitive is not entitled to appellate relief. United States v.

Vasquez-Gutierrez, 335 F.3d 731, 732 (8th Cir. 2003) (citing Molinaro v. New Jersey,

396 U.S. 365, 366 (1970)). Therefore, counsel’s performance in not filing an appeal was

not objectively unreasonable.

        B.       Proposed Amendments

        Petitioner asserts other grounds for relief as proposed amendments to his initial

Motion to Vacate. (Doc. Nos. 5, 9, 16). Rule 15 of the Federal Rules of Civil Procedure

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governs the procedure for amending § 2255 motions. United States v. Pittman, 209 F.3d

314, 317 (4th Cir. 2000). Absent bad faith, undue prejudice to the opposing party, or

futility of amendment, leave to amend under Rule 15(a) is freely given. Id. (citing

Forman v. Davis, 371 U.S. 178, 182 (1962)).

        A cause of action barred by an applicable statute of limitations is futile; therefore,

an untimely amendment can be denied. Id. However, Rule 15(c) allows time-barred

amendments if they “relate back” to the original pleading. Id. Rule 15(c) is satisfied

“when ‘the claim or defense asserted in the amended pleading arose out of the conduct,

transaction, or occurrence set forth . . . in the original pleading.’” Id. (quoting Fed. R.

Civ. P. 15(c)(2), now codified as Fed. R. Civ. P. 15(c)(1)(B)). The Supreme Court has

held that permissible new claims must relate to a “common core of operative facts” as the

timely claims. Maye v. Felix, 545 U.S. 644, 664 (2005).

        The Judgment was entered on October 21, 2010. (Case No. 3:05-cr-46, Doc. No.

88). Petitioner’s conviction became final on or about November 4, 2010, when the time

to file an appeal to the United States Court of Appeals for the Fourth Circuit expired.

Clay v. United States, 537 U.S. 522, 524-25 (2003). Therefore, the limitations period

under the Anti-Terrorism and Effective Death Penalty Act (AEDPA) expired one year

later on November 4, 2011. See 28 U.S.C. § 2255. Because Petitioner filed his first

Motion for Leave to File Amended Petition on December 2, 2011, after the one-year

limitation period, it and subsequently filed proposed amendments are untimely.

        Petitioner’s proposed amendments are not saved by Rule 15(c) because they do

not relate back to his original Motion to Vacate, in which Petitioner claims that former

counsel unreasonably failed to file a notice of appeal in his absence. (Doc. No. 1: Motion
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at 5; Memorandum at 6-9). In the first proposed amendment, Petitioner claims that

former counsel was ineffective for pressuring him to plead guilty. (Doc. No. 2: Motion at

2; Memorandum at 11-12). In the second proposed amendment, Petitioner claims that the

Government’s filing of the § 851 notice was arbitrary and capricious. (Doc. No. 9:

Amended Motion at 1). In the third proposed amendment, Petitioner claims that the

Court, former counsel, and the Government misinformed him about the impact of the §

851 notice on his sentence. (Doc. No. 16: Motion to Amend at 2). None of the new

claims arise from the common core of operative facts as the initial claim about counsel’s

failure to file a notice of appeal.

        In United States v. Prescott, 221 F.3d 686 (4th Cir. 2000), the Fourth Circuit

instructed that while § 2255’s limitation period is subject to equitable tolling, it is an

extraordinary remedy that is sparingly granted. Id. at 688. The Fourth Circuit has further

opined that such remedy must be “reserved for those rare instances where--due to

circumstances external to the party’s own conduct--it would be unconscionable to enforce

the limitation period against the party and gross injustice would result.” Harris v.

Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000). In order to be entitled to equitable

tolling, “an otherwise time-barred petitioner must present ‘(1) extraordinary

circumstances, (2) beyond his control or external to his own conduct, (3) that prevented

him from filing on time.”’ Sosa, 364 F.3d at 512 (citing Rouse v. Lee, 339 F.3d 238, 246

(4th Cir. 2003)).

        The Government asserts the statute of limitations barrier to the proposed

amendments in its Response. (Doc. No. 13 at 9-11). In Petitioner’s Reply, counsel does

not assert any grounds for equitable tolling. (Doc. No. 15). However, counsel states in
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the Motion for Leave to File Amended Petition that she filed the initial motion on

September 26, 2011, without meeting with Petitioner. (Doc. No. 2: Motion at 2). After

that, she met with him, and conducted research, and reviewed court documents, all of

which occurred before the limitations period ran on November 4, 2011. (Id. at 2-3).

Petitioner pro se alludes to being in protective custody for much of his incarceration as

limiting contact with counsel. (Doc. No. 9: Amended Motion at 2).

        Neither counsel nor Petitioner acknowledge that he was a fugitive for

approximately nine months of the limitations period. Additionally Petitioner offers no

information regarding the length of the purported lock-downs or explanation as to how

and/or why they impacted his ability to file timely amendments. Thus, he has not met his

burden of showing that any lock-down was not “reasonably related to legitimate

penological interests” as is required in order to establish an unconstitutional impediment.

Akins v. United States, 204 F.3d 1086, 1090 (11th Cir. 2000).2

        Based on the foregoing, Petitioner is not entitled to equitable tolling of the statute of

limitations for proposed amendments because he has not demonstrated extraordinary

circumstances beyond his own conduct that warrant such tolling. Therefore, they are untimely.

IV.     CONCLUSION

        IT IS, THEREFORE, ORDERED that:

        1.       Petitioner’s Motion to Vacate (Doc. No. 1) is DENIED and DISMISSED with

prejudice; and


        2
          A prison lock-down is generally not considered to be a constitutional impediment to the
filing of a § 2255 motion. Atkins, 204 F.3d at 1090-91; see also Dodd v. United States, 365 F.3d
1273, 1283 (11th Cir. 2004) (prison lock-downs are not extraordinary circumstances in which
equitable tolling is appropriate).
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          2.    Petitioner’s Proposed Amendments (Doc. Nos. 5, 9, 16) are DISMISSED as

untimely; and

          3.    Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases, this Court

declines to issue a certificate of appealability as Petitioner has not made a substantial showing of

the denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller–El v. Cockrell, 537 U.S. 322,

336-38 (2003) (in order to satisfy § 2253(c), a petitioner must demonstrate that reasonable jurists

would find the district court’s assessment of the constitutional claims debatable or wrong); Slack

v. McDaniel, 529 U.S. 474, 484 (2000) (holding that when relief is denied on procedural

grounds, a petitioner must establish both that the correctness of the dispositive procedural ruling

is debatable and that the petition states a debatably valid claim of the denial of a constitutional

right).

                                                                Signed: December 3, 2013




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